 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 1 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA

Case No: 3:21-cv-00048

Aereauna Houle, )
Plaintiff,
VS. ANSWER AND JURY DEMAND
University of North Dakota,
Defendant.
kk ok ae

COMES NOW, Defendant University of North Dakota (“UND”), and for its Answer to

Plaintiffs Complaint, alleges and states as follows:
1.

Defendant denies each and every allegation, matter and thing in Plaintiff's Complaint,

except that which is hereinafter admitted, qualified, or explained.
2.

Title [X rights and student safety at UND are among UND’s highest values and central to
its mission. Plaintiff's Complaint contains false and intentionally inflammatory allegations and
unjustly maligns UND’s efforts in service of that mission. The indisputable truth is that the 27-
year-old Plaintiff had a consensual affair with a former UND professor, which affair she
attempted to conceal. She did not report this sexual relationship to UND. When UND became
aware of the relationship through independent channels, it immediately took appropriate steps to
isolate the Plaintiff from the professor, which steps Plaintiff resisted and bypassed so the affair
could continue. UND further took appropriate steps to offer the Plaintiff services which would

have allowed her to continue her studies, which services she rebuffed. UND specifically denies
 

 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 2 of 15

any of its actions subjected the Plaintiff to sexual discrimination or deprived the Plaintiff of
educational opportunities or benefits.
3.

Defendant denies the allegations of paragraph 1 of the Complaint, in that Professor
Andrew Quinn, far from being a “known harasser”, had been disciplined once prior for a
consensual relationship with a former student who was close to his own age. UND specifically
denies that it believed Quinn had a proclivity to victimize students, and specifically denies
Plaintiff Houle was in any way victimized by him.

4.

Defendant denies the allegations in paragraph 2 of the Complaint, to the extent it implies
that Social Work Chair Carenlee Barkdull was deliberately indifferent or somehow knew Quinn
would engage in unwelcome sexual contact with a student. In fact, as Plaintiff is aware, the
comments attributed to Barkdull in the Complaint relate to an incident completely unrelated to
any sexual behavior by Quinn.

5.

Defendant denies paragraph 3 of the Complaint to the extent it asserts that Plaintiff
“promptly reported” any alleged quid pro quo harassment in December of 2018. Rather Plaintiff,
who was 27 years old, had a consensual affair with Quinn. She deliberately took steps to conceal
this affair from UND personnel and others. In fact, the Plaintiff never reported any sexual
relationship to UND, and once a Title IX investigation was initiated, expressed her desire that it
not happen and refused to cooperate with it. Nevertheless, once it became aware of the affair,

UND immediately issued a no-contact directive to Quinn and a no trespass order which barred
 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 3 of 15

him from campus. Plaintiff deliberately and surreptitiously continued to see Quinn both off and
on campus after these orders were issued.
6.

Defendant denies paragraph 4 of the Complaint in its entirety. While UND admits
issuing a no-contact and no trespass order to Quinn, both documentary and video evidence
establishes Plaintiff continued to surreptitiously and willingly see Quinn after those orders were
issued. UND specifically alleges it conducted a prompt and thorough investigation of Plaintiffs
relationship with Quinn once it became aware of it, and took wholly appropriate steps to address
any Title IX concerns, despite the consensual nature of the relationship and Plaintiffs
unwillingness to have the investigation initiated or continued.

7.

Defendant denies paragraph 5 of the Complaint in its entirety. On or about March 30,
2019, Plaintiff was charged with domestic violence against her live-in boyfriend. This occurred
after the boyfriend found Plaintiff and Quinn in bed together in the Plaintiff's UND apartment.
The boyfriend videotaped the encounter, which is what led to the Plaintiffs arrest. Pending
charges of domestic violence against a prospective social worker are serious. Plaintiff was
placed on a “gatekeeping” plan in order to continue with her internship, and one of the
requirements of which was regularly seeing a counselor to address the mental health issues that
led to her legal problems. Plaintiff consistently failed to comply with the gatekeeping
requirements, and eventually stopped communicating with the social work department entirely.
Her failure to complete her degree was not the result of an unwanted sexual relationship; rather it

was the result of the Plaintiff deliberately choosing not to continue her education at UND.
 

 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 4 of 15

8.

Defendant specifically denies the allegation in paragraph 5 of the Complaint that Quinn’s
resignation in the midst of a disciplinary proceeding at UND was a “sweetheart deal.” Faced with
an allegation of a wholly consensual relationship between a tenured professor and an adult
student, Title [IX does not require a university to summarily terminate the professor without
regard to due process.

9.

Defendant denies paragraph 6 of the Complaint in its entirety. Once again, UND made
numerous attempts to work with Plaintiff and to allow her to complete her degree. Plaintiff
refused to cooperate with those efforts, and eventually, refused to communicate with UND
altogether.

10.

Defendant denies paragraph 7 of the Complaint in its entirety. Defendant specifically
asserts it is not subject to liability under Title IX because it has an effective policy for reporting
and redressing sexual harassment and other types of sex discrimination, pursuant to which the
Defendant conducted a prompt and thorough investigation of Plaintiff's allegations, despite her
reluctance to participate in the investigation.

11.

Defendant admits the allegations in paragraphs 8, 9, and 10 of the Complaint related to

jurisdiction and venue.
12.
Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 11 of the Complaint, and therefore denies the same.
 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 5 of 15

13.
Defendant admits the allegations in paragraph 12 of the Complaint to the extent it asserts
that UND is a State university and is located in Grand Forks, North Dakota.
14.
Defendant denies the allegations in paragraphs 13, 14, 15 and 16 of the Complaint.
15.
Defendant admits paragraph 17 of the Complaint.
16.

Defendant alleges the documents referenced in paragraphs 18 and 19 of the Complaint
speak for themselves to the extent those documents exist. UND denies all allegations in
paragraphs 18 and 19 of the Complaint not reflected in the express text of the referenced
documents.

17.

Defendant admits paragraph 20 of the Complaint.

18.

Defendant alleges the documents referenced in paragraphs 21 and 22 of the Complaint
speak for themselves to the extent those documents exist. UND denies all allegations in
paragraphs 21 and 22 of the Complaint not reflected in the express text of the referenced
documents.

19.

Defendant denies paragraph 23 of the Complaint.

20.

Defendant admits paragraphs 24 and 25 of the Complaint.
 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 6 of 15

21.

Defendant admits the allegations in paragraphs 26 and 28 of the Complaint in that Quinn
had a consensual sexual relationship with a former student in her 40’s in the approximate
timeframe alleged. UND specifically alleges the documents referenced in paragraphs 27-28 of
the Complaint speak for themselves to the extent those documents exist. UND denies all
allegations in paragraphs 27-28 of the Complaint not reflected in the express text of the
referenced documents.

22.

Defendant denies paragraph 29 of the Complaint in its entirety, and specifically denies
the allegation that UND did not conduct a thorough and appropriate Title [X investigation into
the consensual relationship with the former student.

23.

Defendant alleges the documents referenced in paragraphs 30, 31, and 32 of the
Complaint speak for themselves to the extent those documents exist. UND denies all allegations
in paragraphs 30, 31, and 32 of the Complaint not reflected in the express text of the referenced
documents. UND admits Quinn was reprimanded and placed on a performance improvement
plan related to the consensual relationship with the former student. UND specifically denies
there was anything inappropriate about the investigation conducted and the discipline imposed
relating to the former student.

24.
Defendant admits the allegations of paragraph 33 of the Complaint, as the performance

improvement plan had an end date of May of 2017.
 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 7 of 15

25.

Defendant denies paragraph 34 of the Complaint to the extent it implies anything

inappropriate occurred with respect to Quinn’s tenure review.
26.

Defendant alleges the documents referenced in paragraphs 35, 36, and 37 of the
Complaint speak for themselves to the extent those documents exist. UND denies all allegations
in paragraphs 35, 36, and 37 of the Complaint not reflected in the express text of the referenced
documents. Defendant specifically alleges the incident related by Chair Barkdull involved a
dispute between Quinn and CVIC regarding services for one of Quinn’s clients, and had nothing
to do with any alleged sexual misconduct or sexual harassment.

27.

Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
allegations in paragraphs 38 and 39 of the Complaint, and therefore denies the same. Defendant
admits plaintiff sought recommendations letters for graduate school from professors Muhs and
Kitko.

28.

Defendant lacks knowledge or information sufficient to form a belief as to the truth of
the allegations in paragraphs 40, 41, 42, and 43 of the Complaint, and therefore denies the same.
While only Plaintiff and Quinn would be privy to the substance and context of the events
alleged, based on subsequent actions by the Plaintiff, UND considers the conduct alleged to be

false.
 

 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 8 of 15

29,

Defendant denies the allegations in paragraphs 44, 45, 46, and 47 of the Complaint.
Defendant specifically denies that any alleged reports Plaintiff made to UND prior to UND's
initiation of a Title LX investigation -- through information not obtained from the Plaintiff --
constituted a report of sexual harassment or discrimination. Defendant further specifically
denies that it failed to inform Plaintiff of her rights and options under Title IX. In fact, Plaintiff
affirmatively requested that no action be taken.

30.

Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
allegations in paragraphs 48, 49, 50, 51, 52, and 53 of the Complaint, and therefore denies the
same. While only Plaintiff and Quinn would be privy to the substance and context of the events
alleged, based on subsequent actions by the Plaintiff, UND considers the conduct alleged to be
false.

31.

Defendant denies the allegations contained in paragraphs 54, 55, and 56 of the
Complaint.

32.

Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
allegations in paragraphs 57 and 58 of the Complaint, and therefore denies the same.

33.

Defendant denies the allegations of paragraphs 59 and 60 of the Complaint. Defendant

specifically denies that Plaintiff at any time disclosed quid pro quo sexual harassment or sexual

harassment, sexual abuse or sexual intimacy of any kind.
 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 9 of 15

34,

Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraphs 61 and 62 of the Complaint, and therefore denies the same.
35.

Defendant admits paragraph 63 of the Complaint to the extent that Quinn made a report
to UND police expressing concern about potential domestic abuse between Plaintiff and her
boyfriend. Defendant admits that Quinn’s description of his relationship with Plaintiff prompted
UND police to file a Title IX report.

36.

Defendant admits paragraph 64 of the Complaint to the extent that based on the report of
UND police Defendant promptly commenced an investigation, and based on the allegations
documented by the UND police, immediately placed Quinn on administrative leave, and issued a
no-contact and no trespass order against him.

37.

Defendant admits paragraph 65 of the Complaint only to the extent that Quinn
subsequently violated the no-contact and no trespass order, but affirmatively alleges the Plaintiff
intentionally and surreptitiously continued the relationship with Quinn for months following
issuance of the orders.

38.

Defendant alleges the documents referenced in paragraph 66 of the Complaint speak for

themselves to the extent those documents exist. UND denies all allegations in paragraph 66 of

the Complaint not reflected in the express text of the referenced documents.
 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 10 of 15

39,

Defendant denies paragraph 67 of the Complaint, except to the extent that Donna Smith
contacted Plaintiff on January 25, 2019, to follow up on Plaintiffs failure to show for a
previously-scheduled meeting. On the contrary, Donna Smith at all times conducted an
appropriate and thorough Title IX investigation, without the cooperation of Plaintiff, and offered
all appropriate interim measures and support.

40.

Defendant denies paragraph 68 of the Complaint to the extent it implies Plaintiff's letter
to UND -- in which she denied Quinn had done anything inappropriate -- was non-consensual or
signed out of fear of retaliation by Quinn. Rather, the letter is entirely consistent with the
position Plaintiff expressed to UND during the relevant time period.

4],

Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 69 of the Complaint, and therefore denies the same.
42.

Defendant denies paragraph 70 of the Complaint. Rather, on March 30, 2019, UND
police responded to a 911 “domestic in progress” call at the apartment shared by Plaintiff and her
boyfriend. Plaintiff's boyfriend arrived home to find the Plaintiff in bed with Quinn. In
response Plaintiff physically attacked her boyfriend. The attack was documented on video.
Plaintiff was subsequently charged with simple assault and domestic violence based on the video

evidence.

-10-
 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 11 of 15

43.

Defendant denies paragraph 71 of the Complaint to the extent it makes allegations
outside the memorandum of the gatekeeping meeting, which speaks for itself. The meeting was
called due to Plaintiff's arrest for domestic violence and was called for the specific purpose of
determining a means by which Plaintiff could successfully complete her internship and clinical
studies.

44.

Defendant denies paragraph 72 of the Complaint. Defendant admits it was agreed at the
gatekeeping meeting that Plaintiff would attend regular counseling sessions, but it specifically
denies that Plaintiff complied with this agreement. In fact, Plaintiff was sporadic in her
attendance at counseling sessions and no-showed for many of the appointments. Defendant also
specifically denies Plaintiff was at any time denied campus-based counseling services, or that
UND did anything other than what was in her best interests. Rather, Plaintiff ceased all contact
with UND and refused to respond to inquiries as to her status.

45.

Defendant denies paragraph 73 of the Complaint.

46,

Defendant denies paragraph 74 of the Complaint, and admits only that Quinn resigned
from UND during the termination process. Defendant specifically denies this was a “sweetheart
deal” or that UND was somehow obligated to deprive Quinn of due process or insist on pursuing

the termination process in light of that resignation.

-li-
 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 12 of 15

47,
Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
allegations in paragraph 75 of the Complaint, and therefore denies the same.
48.
Defendant denies the allegations in paragraphs 76 and 77 of the Complaint.
49,

Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraphs 78 and 79 of the Complaint, and therefore denies the same.
50.

Defendant denies the allegations in paragraph 80 of the Complaint, and alleges the
Plaintiff refused to respond to communications from UND and to take any steps to continue her
education. Defendant denies Plaintiff has been damaged in any way due to UND’s action or
inaction.

51.

Defendant denies all remaining allegations of the Complaint, paragraphs 81-105.
Defendant further asserts it cannot be found to have violated Title IX because it had policies
designed to prevent and correct harassment and, upon notice of the alleged inappropriate
relationship, took prompt and effective action to address it.

52.
Defendant specifically denies appropriate officials had sufficiently detailed knowledge of

any alleged impropriety to constitute deliberate indifference.

-12-
 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 13 of 15

AFFIRMATIVE DEFENSES
53.

Defendant re-alleges all previous allegations and denials.
54,

The State of North Dakota is immune from suit under the Eleventh Amendment to the

United States Constitution.

55,

Plaintiff has failed to mitigate her damages, if any.
56.

Defendant asserts that Plaintiff was not damaged at all or to the extent claimed.
57.

Plaintiff's claim is barred, in whole or in part, by the applicable statute of limitations.
58.

Defendant specifically asserts it is not subject to liability under Title IX because it has an
effective policy for reporting and redressing sexual harassment and other types of sex
discrimination, pursuant to which the Defendant conducted a prompt and thorough investigation
of Plaintiff's allegations, despite her reluctance to participate in the investigation.

59.

To the extent this consensual relationship constituted sexual harassment or

discrimination, Defendant specially denies it had actual knowledge of the same or was

deliberately indifferent to it.

-~13-
 

 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 14 of 15

60.

Pending completion of discovery, Defendant alleges and incorporates by reference all

affirmative defenses under Fed. R. Civ. Proc. 8, 9 and 12.
61.

WHEREFORE, Defendant University of North Dakota denies that Plaintiff Houle is
entitled to judgment against it in any amount or to any legal or equitable relief or remedy
whatsoever, and asks that Plaintiff's Complaint be dismissed, with costs awarded to the
Defendant.

DEFENDANT HEREBY REQUESTS A JURY OF THE MAXIMUM SIZE ALLOWED
BY LAW.

Dated this 4" day of May, 2021.

By /s/ Scott K. Porsborg
Scott K. Porsborg (ND Bar ID #04904)
sporsborg@smithporsborg.com
Brian D. Schmidt (ND Bar ID #07498)
bschmidt@smithporsborg.com
Special Assistant Attorneys General
122 East Broadway Avenue
P.O. Box 460
Bismarck, ND 58502-0460
(701) 258-0630

 

Attorneys for Defendant, University of
North Dakota

-14-
 

Case 3:21-cv-00048-PDW-ARS Document 8 Filed 05/04/21 Page 15 of 15

CERTIFICATE OF SERVICE

I hereby certify that on the 4" day of May, 2021, a true and correct copy of the foregoing
ANSWER AND JURY DEMAND was filed electronically with the Clerk of Court through
ECF, and that ECF will send a Notice of Electronic Filing (NEF) to the following:

Laura L. Dunn

Attorney at Law

1717 K Street NW, Suite 900
Washington, DC 20006

Timothy Q. Purdon

Attorney at Law

1207 W. Divide Ave., Suite 200
Bismarck, ND 58501

LDunn@LLDunnLawFirm.com

 

TPurdon@RobinsKaplan.com

By /s/Scott_K. Porsborg
SCOTT K. PORSBORG

-15-
